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 Erika H. Warren (State Bar No. 295570)​                 Clarissa A. Kang (State Bar No. 210660)
 Jesse A. Macias (State Bar No. 254794)​                 Catherine L. Reagan (State Bar No. 327702)
 WARREN KASH WARREN LLP​                                 TRUCKER HUSS, APC
 2261 Market Street, No. 606​                            135 Main Street, 9th Floor
 San Francisco, California, 94114​                       San Francisco, California, 94105
 +1 (415) 895-2940​                                      +1 (415) 788-3111
 +1 (415) 895-2964 facsimile​                            +1 (415) 421-2017 facsimile
 24-3327@cases.warrenlex.com​                            ckang@truckerhuss.com
 ​                                                       creagan@truckerhuss.com
 Pro Bono Attorneys for​
 Plaintiff Lia Javier​                                   Attorneys for Defendant Kaiser Foundation
 ​                                                       Health Plan Inc.​     ​

                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                         SAN FRANCISCO DIVISION


 LIA JAVIER,​                              )​                 Case No. 4:24-cv-03327-YGR
       ​                                   )​
 ​ Plaintiff,​                             )​                 STIPULATED REQUEST TO EXPAND
 ​                                         )​                 PRO BONO APPOINTMENT AND
 v.​                                       )​                 SET TIME FOR AMENDED
 ​                                         )​                 COMPLAINT AND RESPONSE
 KAISER FOUNDATION HEALTH PLAN, INC.,​ )​
 ​                                         )​                 ​
 ​ Defendant.​                             )​
 _________________________________________​)

         Plaintiff Lia Javier (“Plaintiff” or “Ms. Javier”) and Defendant Kaiser Foundation Health Plan,

 Inc. (“Defendant”) (collectively, the “Parties”), hereby stipulate and request as follows:

         WHEREAS, on January 15, 2025, the Court issued an Order Granting Defendant’s Motion to

 Dismiss with Leave to Amend (Dkt. 30);

         WHEREAS, on January 19, 2025, the Court issued an Order Referring Case to Magistrate Judge

 for Settlement Conference and Referring Case for Eligibility Assessment Under General Order 25 (Dkt.

 31);

         WHEREAS, on February 11, 2025, the Court issued an Order to Locate Pro Bono Counsel for

 the limited purpose of representing Plaintiff in the course of settlement conference, and stayed

 proceedings until four weeks from the appointment of counsel (Dkt. 32);


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 ___________________________________________________________________________________________________________________
                                                 STIPULATED REQUEST TO EXPAND PRO BONO APPOINTMENT
                                                   AND SET TIME FOR AMENDED COMPLAINT AND RESPONSE
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         WHEREAS, on April 10, 2025, the Court issued an Order Appointing Counsel, appointing Erika

 Warren and Jesse Macias of Warren Kash Warren LLP as counsel for Plaintiff for the limited purpose of

 representing the Plaintiff in the course of settlement conference (Dkt. 33);

         WHEREAS, on June 17, 2025, the Parties appeared for a Settlement Planning Call before Chief

 Magistrate Judge Donna M. Ryu, during which the Parties agreed that presentation of an amended

 complaint to Defendant in advance of a Settlement Conference would be helpful for settlement purposes

 (Dkt. 37);

         WHEREAS, a Settlement Conference has been set for September 12, 2025, at 10:00 a.m. PT,

 before Chief Magistrate Judge Donna M. Ryu (Dkt. 38);

         WHEREAS, Warren Kash Warren is willing to be appointed and undertake further pro bono

 representation of the Plaintiff for the limited purpose of assisting Ms. Javier in preparation and filing of

 an amended complaint in this action;

         NOW, THEREFORE, the Parties hereby stipulate and agree, and respectfully request the Court

 order as follows:

         1.      That the scope of its appointment of Warren Kash Warren, Dkt. 33, be expanded to

 include representation for the limited purpose of assisting Ms. Javier with the preparation and filing of

 an amended complaint in this action;

         2.      That Plaintiff’s Amended Complaint be filed on or before July 31, 2025;

         3.      That Defendant’s answer or other response to Plaintiff’s Amended Complaint be filed

 within 30 days of the completion of the Settlement Conference.

 Date: June 18, 2025​                                  Respectfully submitted,


 __________________________________​                    /s/ Clarissa A. Kang
                                                       _______________________________________
 Erika H. Warren (State Bar No. 295570)​               Clarissa A. Kang (State Bar No. 210660)
 Jesse A. Macias (State Bar No. 254794)​               Catherine L. Reagan (State Bar No. 327702)
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                                                       creagan@truckerhuss.com​
 Pro Bono Attorneys for​
 Plaintiff Lia Javier​                                 Attorneys for Defendant Kaiser Foundation
                                                       Health Plan Inc.



                                        SIGNATURE ATTESTATION
         Under Local Rule 5-1(i)(3), I attest that I have obtained concurrence in the filing of this

 document from the other signatories.

 Date:​ June 18, 2025​                                 __________________________________
                                                       Erika H. Warren




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 ___________________________________________________________________________________________________________________
                                                 STIPULATED REQUEST TO EXPAND PRO BONO APPOINTMENT
                                                   AND SET TIME FOR AMENDED COMPLAINT AND RESPONSE
